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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                    MACON DIVISION

 ARETHA COOPER-HILL,                                  )
                                                      )
                 Plaintiff,                           )
                                                      )
         v.                                           )   CIVIL ACTION NO. 5:18-CV-23 (MTT)
                                                      )
                                                      )
 HANCOCK COUNTY BOARD OF                              )
 COMMISSIONERS, et al.,                               )
                                                      )
                 Defendants.                          )
                                                      )

                                                ORDER

        Plaintiff Aretha Cooper-Hill filed her complaint on January 19, 2018. Doc. 1.

Cooper-Hill also moved to proceed in forma pauperis, which the Court denied on

February 1, 2018. Docs. 2; 3; 5. Cooper-Hill then paid the $400 filing fee as required.

However, according to the record, Cooper-Hill has not yet served the Defendants as

required by Fed. R. Civ. P. 4(m), and the deadline to do so was May 2, 2018.1

Accordingly, the Court ORDERS Cooper-Hill to show cause why her case should not be

dismissed by May 24, 2018.

        SO ORDERED, this the 18th day of May, 2018.

                                                 S/ Marc T. Treadwell
                                                 MARC T. TREADWELL, JUDGE
                                                 UNITED STATES DISTRICT COURT



1
  Rule 4(m) requires that a defendant be served within 90 days after the complaint is filed. However,
when a plaintiff moves to proceed IFP and the court denies that motion, it is unclear whether the time for
service should be computed based on the filing of the compliant or the denial of the IFP motion. Cf.
Heenan v. Network Publications, Inc., 181 F.R.D. 540, 542-43 (N.D. Ga. 1998) (computing the time for
service based on the date the plaintiff’s request to proceed IFP was granted). Out of caution, the Court
considers the deadline for service to be 90 days from the denial of Cooper-Hill’s motion to proceed IFP.
